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IT IS SO ORDERED.

SIGNED THIS: September 25, 2020




                          _________________________________
                          Thomas L. Perkins
                          United States Chief Bankruptcy Judge
 ___________________________________________________________



                           UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF ILLINOIS

In re:                             )
                                   )
I80 EQUIPMENT, LLC,                )                  BANKR. NO. 17-81749
                                   )
            Debtor,                )                  CHAPTER 7
__________________________________ )
In re:                             )
                                   )
JONES LEASE PROPERTIES, LLC,       )                  BANKR. NO. 19-80014
                                   )
            Debtor,                )                  CHAPTER 11
__________________________________ )

                             ORDER APPROVING COMPROMISE

         The Notice of Compromise and Joint Motion to Approve Compromise (Bankr. 17-81749,

Doc. 622, 624; Bankr. 19-80014, Doc. 431, 432) (collectively, “Motion”) filed by Jeana K.

Reinbold, solely as the Chapter 7 Trustee of the Estate of I80 Equipment, LLC (“I80 Trustee”)

and Jones Lease Properties, LLC (“Jones Lease”) having come before the Court for

consideration, no objections having been filed,

         IT IS HEREBY ORDERED THAT:

         1.    The Motion is granted, and the Settlement and Release Agreement attached as

Exhibit A (“Agreement”) to the Motion filed in each case is approved;


                                                  1
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        2.       The parties are authorized to enter into the compromise described in the Motion,

and Jones Lease shall transmit the sum of one-hundred twenty-five thousand dollars and

00/100 cents ($125,000.000) (“Settlement Amount”) to the I80 Trustee as set forth in the Motion;

        3.       Following timely and full payment of the Settlement Amount, the I80 Trustee and

Jones Lease are authorized to and shall perform or cause to be performed all acts necessary to

conclude the compromise described within, including without limitations the dismissal of

adversary proceeding numbers 19-8124, 19-8125, 19-8128 and 19-8130 with prejudice,

providing a release of judgment in 19-8129 which can be filed, withdrawal of Claim 5-2 filed by

the I80 Trustee in case 19-80014 with prejudice, withdrawal of both claim 49-1 filed by Jones

Lease and claim 50-1 filed by Erik R. Jones in case 17-81749 with prejudice, and amendment of

the plan proposed for confirmation by Jones Lease to remove treatment of the claims of the I80

Trustee by making reference to the Agreement;

        4.       The Court shall retain jurisdiction over any and all matters arising from or related

to this order.

                                                 ###




                                                  2
